 Case 15-91495-AKM-7A              Doc 303      Filed 05/14/20    EOD 05/14/20 09:35:52             Pg 1 of 32


                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

       In re: Regal Industries, Inc.                                §   Case No. 15-91495-7-AKM
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Kathryn L. Pry, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $0.00                              Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$810,839.99         Claims Discharged
                                                     Without Payment: $2,936,939.71

 Total Expenses of Administration:$464,134.69


         3) Total gross receipts of $ 1,274,974.68 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $1,274,974.68
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
 Case 15-91495-AKM-7A                Doc 303        Filed 05/14/20         EOD 05/14/20 09:35:52                   Pg 2 of 32



                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $2,437,225.67        $478,246.58        $289,345.48       $289,345.48

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         464,134.69        464,134.69         464,134.69

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00          23,585.97          24,396.43         24,396.41
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  1,329,380.78       2,994,345.50       2,983,251.35        497,098.10

                                        $3,766,606.45      $3,960,312.74      $3,761,127.95      $1,274,974.68
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on August 20, 2015.
  The case was pending for 56 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 05/13/2020                 By: /s/Kathryn L. Pry
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
              Case 15-91495-AKM-7A                    Doc 303         Filed 05/14/20           EOD 05/14/20 09:35:52     Pg 3 of 32




                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                      $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                  RECEIVED
     9564 E County, Crothersville, IN 47229                                             1110-000                        231,000.00

     4557 N US Hwy 31, Austin IN 47102                                                  1110-000                        212,500.00

     Regal Tranport Inc checking acct - Peoples Bank                                    1129-000                           248.92

     Murray Investments LLC Checking acct - Peoples B                                   1129-000                           414.37

     Checking acct - Peoples Bank                                                       1129-000                         10,704.71

     Bowling Transport                                                                  1123-000                          4,560.00

     A/R                                                                                1121-000                         13,556.61

     Four (4) trucks                                                                    1129-000                         75,000.00

     Three (3) pickup trucks & 100 trailers (see atta                                   1129-000                        275,000.00

     Furnishings etc                                                                    1129-000                          3,000.00

     machinery, equipment, fixture and 1472 Predators                                   1129-000                        150,000.00

     Inventory                                                                          1129-000                          3,392.40

     second account at People's Bank                                                    1229-000                           280.76

     Claim filed in Ch13 of T Lightsey11-42683AL                                        1249-000                            67.07

     Petty Cash                                                                         1229-000                            33.73

     Dividends                                                                          1223-000                            54.00

     Insurance premium refunds                                                          1290-000                            19.50

     Regal Rental payments for additional property                                      1122-000                         45,000.00

     Jackson County REMC Capital credits retirement                                     1229-000                        245,142.61

     Residual assets                                                                    1229-000                          5,000.00


    TOTAL GROSS RECEIPTS                                                                                             $1,274,974.68

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




UST Form 101-7-TDR (10/1/2010)
            Case 15-91495-AKM-7A          Doc 303      Filed 05/14/20          EOD 05/14/20 09:35:52            Pg 4 of 32


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                             UNIFORM                           $ AMOUNT
    PAYEE                               DESCRIPTION
                                                                            TRAN. CODE                            PAID
                                                     None

 TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                              $0.00
 PARTIES

EXHIBIT 3 SECURED CLAIMS


                                          UNIFORM       CLAIMS
   CLAIM                                               SCHEDULED               CLAIMS            CLAIMS            CLAIMS
    NO.            CLAIMANT                TRAN.         (from Form           ASSERTED          ALLOWED             PAID
                                           CODE              6D)
     15      Rumpke of Indiana, LLC       4120-000            N/A                 34,501.10             0.00                 0.00

     33      P&H Properties, LLC          4210-000            N/A                  4,400.00             0.00                 0.00

     40S     Estate of Lee Royalty        4110-000            387,225.67         150,000.00             0.00                 0.00
             (Florence Royalty, RPI)
     42      Jackson County Treasurer     4220-000            N/A                 17,512.03        17,512.03         17,512.03

 NOTFILED    Peoples Bank of Brownstown   4110-000              70,000.00        N/A                 N/A                     0.00

 NOTFILED    Peoples Bank of Brownstown   4110-000           1,980,000.00        N/A                 N/A                     0.00

             People's Bank                4110-000            N/A                121,833.45       121,833.45        121,833.45

             Florence Royalty             4110-000            N/A                150,000.00       150,000.00        150,000.00


 TOTAL SECURED CLAIMS                                       $2,437,225.67       $478,246.58      $289,345.48       $289,345.48



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                          UNIFORM
    PAYEE                                               CLAIMS                 CLAIMS            CLAIMS            CLAIMS
                                           TRAN.
                                                       SCHEDULED              ASSERTED          ALLOWED             PAID
                                           CODE
 Trustee Compensation - Kathryn L. Pry        2100-000              N/A           61,497.01        61,497.01         61,497.01

 Trustee Expenses - Kathryn L. Pry            2200-000              N/A            1,961.40         1,961.40          1,961.40

 Other - Rabobank, N.A.                       2600-000              N/A                 10.00          10.00                10.00

 Other - Trustee Insurance Agency             2420-000              N/A            3,131.16         3,131.16          3,131.16

 Other - Trustee Insurance Company            2420-000              N/A                952.00         952.00               952.00

 Other - Trustee Insurance Agency             2420-000              N/A            3,131.16         3,131.16          3,131.16

 Other - Rabobank, N.A.                       2600-000              N/A                 13.34          13.34                13.34

 Other - Jackson County REMC                  2420-000              N/A                168.90         168.90               168.90

 Other - Trustee Insurance Agency             2420-000              N/A            3,131.16         3,131.16          3,131.16

 Other - Rabobank, N.A.                       2600-000              N/A                 10.00          10.00                10.00


UST Form 101-7-TDR (10/1/2010)
         Case 15-91495-AKM-7A            Doc 303    Filed 05/14/20   EOD 05/14/20 09:35:52     Pg 5 of 32

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             10.00       10.00           10.00

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             21.25       21.25           21.25

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             25.46       25.46           25.46

 Other - Trustee Insurance Company           2420-000     N/A            944.00      944.00          944.00

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             25.89       25.89           25.89

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             28.29       28.29           28.29

 Other - Trustee Insurance Agency            2420-000     N/A           3,131.16    3,131.16        3,131.16

 Other - Rabobank, N.A.                      2600-000     N/A             24.10       24.10           24.10

 Other - County Treasurer, Jackson Co.       2820-000     N/A          33,427.48   33,427.48       33,427.48

 Other - County Treasurer, Jackson Co.       2820-000     N/A          13,770.48   13,770.48       13,770.48

 Other - Jackson Co. Treasurer               2820-000     N/A           5,708.24    5,708.24        5,708.24

 Auctioneer for Trustee Fees (including      3610-000     N/A          21,000.00   21,000.00       21,000.00
 buyers premiums) - Beckort Auctions LLC
 Auctioneer for Trustee Expenses - Beckort   3620-000     N/A           5,230.35    5,230.35        5,230.35
 Auctions LLC
 Other - Salem Title Company                 2500-000     N/A             15.00       15.00           15.00

 Other - Jackson Co. Auditor                 2500-000     N/A             15.00       15.00           15.00

 Auctioneer for Trustee Fees (including      3610-000     N/A          45,944.40   45,944.40       45,944.40
 buyers premiums) - Beckort Auctions LLC
 Auctioneer for Trustee Expenses - Beckort   3620-000     N/A          47,391.62   47,391.62       47,391.62
 Auctions LLC
 Other - Rabobank, N.A.                      2600-000     N/A            285.05      285.05          285.05

 Other - Rabobank, N.A.                      2600-000     N/A            727.86      727.86          727.86

 Other - Rabobank, N.A.                      2600-000     N/A            641.88      641.88          641.88

 Other - Rabobank, N.A.                      2600-000     N/A            733.69      733.69          733.69

 Other - Tennessee Department of Revenue     2820-000     N/A            100.00      100.00          100.00

 Other - State of New Jersey - CBT           2820-000     N/A            389.00      389.00          389.00

 Other - Kentucky State Treasurer            2820-000     N/A            175.00      175.00          175.00

 Other - Indiana Bureau of Motor Vehicles    2500-000     N/A             15.00       15.00           15.00

 Other - Rabobank, N.A.                      2600-000     N/A            669.72      669.72          669.72

 Other - Rabobank, N.A.                      2600-000     N/A            648.87      648.87          648.87

 Other - international Sureties, Ltd.        2300-000     N/A            145.87      145.87          145.87

 Other - Rabobank, N.A.                      2600-000     N/A            718.67      718.67          718.67




UST Form 101-7-TDR (10/1/2010)
         Case 15-91495-AKM-7A           Doc 303     Filed 05/14/20   EOD 05/14/20 09:35:52     Pg 6 of 32

 Other - Rabobank, N.A.                      2600-000     N/A            684.19      684.19          684.19

 Other - Rubin & Levin                       3210-000     N/A          25,452.50   25,452.50       25,452.50

 Other - Rubin & Levin                       3220-000     N/A            197.26      197.26          197.26

 Other - Tennessee Department of Revenue     2820-000     N/A             63.41       63.41           63.41

 Other - State of Arkansas                   2820-000     N/A             18.75       18.75           18.75

 Other - Indiana Department of Workforce     2820-000     N/A             29.52       29.52           29.52
 Development
 Other - Rabobank, N.A.                      2600-000     N/A            723.07      723.07          723.07

 Clerk of the Court Costs (includes          2700-000     N/A            181.00      181.00          181.00
 adversary and other filing fees) - United
 Other - Commissioner of Taxation and        2820-000     N/A             50.00       50.00           50.00
 Finance
 Other - Rabobank, N.A.                      2600-000     N/A            623.64      623.64          623.64

 Other - Dale & Eke LLC                      3210-000     N/A          58,697.50   58,697.50       58,697.50

 Other - Dale & Eke LLC                      3220-000     N/A           3,027.65    3,027.65        3,027.65

 Other - Seymour Abstract & Title            2500-000     N/A            579.00      579.00          579.00

 Other - Seymour Abstract & Title            2500-000     N/A            350.00      350.00          350.00

 Other - Seymour Abstract & Title            2500-000     N/A            610.00      610.00          610.00

 Other - Seymour Abstract & Title Escrow     2500-000     N/A               5.00        5.00            5.00
 Account
 Other - Marietta Financial Services, Inc    3410-000     N/A             30.00       30.00           30.00

 Other - Marietta Financial Services, Inc    3410-000     N/A            874.00      874.00          874.00

 Other - Marietta Financial Services, Inc    3410-000     N/A           2,772.00    2,772.00        2,772.00

 Other - Rabobank, N.A.                      2600-000     N/A            690.92      690.92          690.92

 Other - Marietta Financial Services, Inc    3420-002     N/A             74.45       74.45           74.45

 Other - Marietta Financial Services, Inc    3410-000     N/A           5,322.50    5,322.50        5,322.50

 Other - Rabobank, N.A.                      2600-000     N/A            620.24      620.24          620.24

 Other - Marietta Financial Services, Inc    3410-000     N/A           1,689.10    1,689.10        1,689.10

 Other - Marietta Financial Services, Inc    3420-000     N/A             74.45       74.45           74.45

 Other - Marietta Financial Services, Inc    3410-000     N/A            400.00      400.00          400.00

 Other - Rabobank, N.A.                      2600-000     N/A            722.66      722.66          722.66

 Other - Rabobank, N.A.                      2600-000     N/A            651.79      651.79          651.79

 Other - Rabobank, N.A.                      2600-000     N/A            628.56      628.56          628.56

 Clerk of the Court Costs (includes          2700-000     N/A            181.00      181.00          181.00
 adversary and other filing fees) - Clerk,
 Other - Rabobank, N.A.                      2600-000     N/A            714.32      714.32          714.32

 Other - Rabobank, N.A.                      2600-000     N/A            626.54      626.54          626.54

 Other - Rabobank, N.A.                      2600-000     N/A            690.28      690.28          690.28

 Other - international Sureties, Ltd.        2300-000     N/A            140.77      140.77          140.77




UST Form 101-7-TDR (10/1/2010)
         Case 15-91495-AKM-7A           Doc 303     Filed 05/14/20    EOD 05/14/20 09:35:52        Pg 7 of 32

 Clerk of the Court Costs (includes          2700-000         N/A          181.00         181.00         181.00
 adversary and other filing fees) - Clerk,
 Other - Rabobank, N.A.                      2600-000         N/A          646.01         646.01         646.01

 Other - JM Partners, LLC                    2500-000         N/A        2,350.00       2,350.00        2,350.00

 Other - Rubin & Levin                       3210-000         N/A       27,514.00      27,514.00       27,514.00

 Other - Rubin & Levin                       3220-000         N/A          637.47         637.47         637.47

 Other - Rabobank, N.A.                      2600-000         N/A        1,034.40       1,034.40        1,034.40

 Other - Rabobank, N.A.                      2600-000         N/A          878.52         878.52         878.52

 Other - Rabobank, N.A.                      2600-000         N/A          940.01         940.01         940.01

 Other - Rubin & Levin                       3210-000         N/A        6,127.50       6,127.50        6,127.50

 Other - Rubin & Levin                       3220-000         N/A          219.81         219.81         219.81

 Other - Rabobank, N.A.                      2600-000         N/A          902.20         902.20         902.20

 Other - Rabobank, N.A.                      2600-000         N/A        1,021.14       1,021.14        1,021.14

 Other - Rabobank, N.A.                      2600-000         N/A          895.87         895.87         895.87

 Other - Rabobank, N.A.                      2600-000         N/A          987.18         987.18         987.18

 Other - Rabobank, N.A.                      2600-000         N/A          954.86         954.86         954.86

 Other - Rabobank, N.A.                      2600-000         N/A          492.10         492.10         492.10

 Other - Rabobank, N.A.                      2600-000         N/A          576.73         576.73         576.73

 Other - international Sureties, Ltd.        2300-000         N/A          192.03         192.03         192.03

 Other - Indiana Department of Workforce     2820-000         N/A          101.36         101.36         101.36
 Development
 Other - Rabobank, N.A.                      2600-000         N/A          521.84         521.84         521.84

 Other - Marietta Financial Services, Inc    3410-000         N/A       32,673.09      32,673.09       32,673.09

 Other - Marietta Financial Services, Inc    3420-000         N/A          628.32         628.32         628.32

 Other - Marietta Financial Services, Inc    3410-000         N/A        3,207.75       3,207.75        3,207.75

 Other - Internal Revenue Service            2810-000         N/A          630.17         630.17         630.17

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A           $464,134.69    $464,134.69     $464,134.69
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                            CLAIMS           CLAIMS         CLAIMS          CLAIMS
                                         TRAN.
                                                    SCHEDULED        ASSERTED       ALLOWED           PAID
                                         CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                 $0.00          $0.00           $0.00
 FEES AND CHARGES




UST Form 101-7-TDR (10/1/2010)
            Case 15-91495-AKM-7A          Doc 303    Filed 05/14/20       EOD 05/14/20 09:35:52            Pg 8 of 32


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                          UNIFORM     CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED             CLAIMS          CLAIMS
    NO.            CLAIMANT                TRAN.     (from Form        (from Proofs of      ALLOWED           PAID
                                           CODE          6E)                Claim)
      8      Gregory J Jaegers            5300-000      N/A                     2,613.45       2,152.78         2,152.78

     24      Robert Clark Roberts         5300-000      N/A                     2,404.76       1,985.09         1,985.09

     41P     INDIANA DEPARTMENT OF        5800-000      N/A                     9,640.73       9,640.73         9,640.73
             WORKFORCE DEVELOPMENT
     43P     Internal Revenue Service     5800-000      N/A                     8,927.03       8,927.03         8,927.03

    FEDE     Internal Revenue Service     5300-000      N/A                  N/A                 496.44          496.44

    MEDE     Internal Revenue Service     5300-000      N/A                  N/A                  72.77           72.77

    MEDY     Internal Revenue Service     5800-000      N/A                  N/A                  72.77           72.77

    FICAE    Internal Revenue Service     5300-000      N/A                  N/A                 311.13          311.13

    FICAY    Internal Revenue Service     5800-000      N/A                  N/A                 311.13          311.12

    FUTAY    Internal Revenue Service     5800-000      N/A                  N/A                 301.10          301.09

   STATEY    State of Indiana             5800-000      N/A                  N/A                 125.46          125.46

 TOTAL PRIORITY UNSECURED                                     $0.00          $23,585.97      $24,396.43       $24,396.41
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM     CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED             CLAIMS          CLAIMS
    NO.            CLAIMANT                TRAN.     (from Form        (from Proofs of      ALLOWED           PAID
                                           CODE          6F)                Claim)
      1 -2 THE PEOPLES BANK               7100-000      N/A                1,187,348.55     1,187,348.55      198,272.75

      2 -2 THE PEOPLES BANK               7100-000      N/A                  518,171.48      518,171.48        86,528.32

      3 -2 THE PEOPLES BANK               7100-000      N/A                   89,461.82       89,461.82        14,939.03

      4      Bearings Headquarters Co     7100-000         2,508.41             2,508.41       2,508.41          418.87

      5      Virginia Hiway, Inc. dba VHI 7100-000      N/A                     9,384.67       9,384.67         1,567.13
             Transport
      6      Robert Spicer                7100-000       113,400.00          113,400.00      113,400.00        18,936.42

      7      Kyana Packaging & Indust     7100-000         2,167.00             2,167.00       2,167.00          361.86
             Supply
      9      Altair Partners LP           7100-000        62,028.56           62,028.55       62,028.55        10,358.01

     10      Apollo Oil LLC Attn: David   7100-000         4,728.18             5,138.11       5,138.11          858.00
             Duvall
     11      Estate of Robert Schildman   7100-000         4,633.75             4,633.75       4,633.75          773.78

     12      Snyder Trucking LTD          7100-000            750.00               750.00        750.00          125.24

     13      TSI Trucking, LLC            7100-000         3,400.00             3,400.00       3,400.00          567.76




UST Form 101-7-TDR (10/1/2010)
            Case 15-91495-AKM-7A         Doc 303     Filed 05/14/20    EOD 05/14/20 09:35:52        Pg 9 of 32

     14      PowerOne Logistics LLC      7100-000          1,230.00       1,230.00       1,230.00         205.40

     16      R&L Carriers Inc            7100-000             387.91      2,077.27       2,077.27         346.88

     17      National Boraxx Corp.       7100-000         26,455.20      30,855.20      30,855.20        5,152.44

     18      Ramblin Corp.               7100-000          3,548.00       3,548.00       3,548.00         592.47

     19      Donco Paper Supply Co       7100-000          4,835.29       4,835.29       4,835.29         807.43

     20      Dayton Freight Lines, Inc   7100-000          2,217.27       2,894.02       2,894.02         483.27

     21      James E Myers               7100-000             350.00          350.00      350.00           58.45

     22      R&D Service                 7100-000         19,995.56      19,995.56      19,995.56        3,339.01

     23      WestCompany fka Rock-Tenn   7100-000        194,613.37     208,749.88     208,749.88       34,858.69
             Company
     25      Linn Paper Stock Company    7100-000        155,878.70     177,786.58     177,786.58       29,688.19

     26      JM Partners LLC             7100-000        225,423.59     234,457.58     234,457.58       39,151.56

     27      Airgas USA LLC              7100-000          1,673.51       7,669.51       7,669.51        1,280.71

     28      JM Partners, LLC            7100-000       N/A               3,045.00       3,045.00         508.48

     29      Krendl Machine Co.          7100-000          1,226.77       2,887.94       2,887.94         482.25

     30      Fastenal Company            7100-000             103.55          201.39      201.39           33.63

     31      Frontier Communications     7100-000          3,914.43           119.15      119.15           19.90

     32      Jonathon Brewer Memorial    7100-000          1,408.55       1,408.55           0.00            0.00

     34      United Parcel Service       7100-000             991.72          332.76      332.76           55.57

     35      Bluegrass Regional Recycling 7100-000         4,628.85       4,628.85       4,628.85         772.96

     36      Lawrence Co Solid Waste Dist 7100-000        10,061.00      10,061.00      10,061.00        1,680.06

     37      Energy Solutions Insulation 7100-000       N/A               9,160.00           0.00            0.00
             LLC
     38      Kendrick Paper Stock Co Inc 7100-000         25,509.55      25,509.55      25,509.55        4,259.78

     39      Boy Scout Troop #96         7100-000             525.60          525.60         0.00            0.00

     40U     Estate of Lee Royalty       7100-000       N/A             237,225.67     237,225.67       39,613.80
             (Florence Royalty, RPI)
     41U     INDIANA DEPARTMENT OF       7300-000       N/A                   910.78      910.78             0.00
             WORKFORCE DEVELOPMENT
     43U     Internal Revenue Service    7300-000       N/A               5,488.03       5,488.03            0.00

 NOTFILED    Kobitex Inc                 7100-000          7,000.00     N/A                N/A               0.00

 NOTFILED    John Ulrey's Glass & Mirror 7100-000             329.00    N/A                N/A               0.00

 NOTFILED    John Steven Smith           7100-000              61.63    N/A                N/A               0.00

 NOTFILED    Liberty Mutual Insurance    7100-000             940.00    N/A                N/A               0.00

 NOTFILED    Lasco HEavy Duty            7100-000              16.20    N/A                N/A               0.00

 NOTFILED    Mastercard PO Box J         7100-000         10,751.81     N/A                N/A               0.00

 NOTFILED    Jackson County REMC PO Box K 7100-000            323.41    N/A                N/A               0.00

 NOTFILED    Great Dane Trailers         7100-000             933.79    N/A                N/A               0.00




UST Form 101-7-TDR (10/1/2010)
        Case 15-91495-AKM-7A             Doc 303     Filed 05/14/20   EOD 05/14/20 09:35:52   Pg 10 of 32

 NOTFILED   Hahn Systemsn LLC             7100-000          257.23      N/A            N/A            0.00

 NOTFILED   Gregory J Jaegers             7100-000         2,613.45     N/A            N/A            0.00

 NOTFILED   Graphic Arts Recycling        7100-000         1,215.20     N/A            N/A            0.00

 NOTFILED   General Rubber & Plastics Co 7100-000           649.96      N/A            N/A            0.00

 NOTFILED   Grainger                      7100-000         2,552.39     N/A            N/A            0.00

 NOTFILED   Fomo Products Inc c/o         7100-000         4,462.97     N/A            N/A            0.00
            Peoples Bank
 NOTFILED   G&G Oil Co of Indiana Inc     7100-000           96.00      N/A            N/A            0.00

 NOTFILED   Forest Park Bank Booster c/o 7100-000           306.50      N/A            N/A            0.00
            Susan Blume
 NOTFILED   Heritage Crystal Clean LLC 7100-000             147.43      N/A            N/A            0.00

 NOTFILED   Indiana Chamber of Commerce 7100-000           1,075.00     N/A            N/A            0.00

 NOTFILED   Jackson County Industrial     7100-000          750.00      N/A            N/A            0.00
            Development Co
 NOTFILED   Jackson Park Physicians       7100-000          300.00      N/A            N/A            0.00

 NOTFILED   Jackson County REMC PO Box K 7100-000          7,504.58     N/A            N/A            0.00

 NOTFILED   Jack Napier                   7100-000         1,920.00     N/A            N/A            0.00

 NOTFILED   Innovacycle LLC               7100-000        13,016.24     N/A            N/A            0.00

 NOTFILED   J&L Transport Inc             7100-000          800.00      N/A            N/A            0.00

 NOTFILED   Indiana Dept of Revenue c/o 7100-000           7,284.74     N/A            N/A            0.00
            Peoples Bank
 NOTFILED   Indiana Manufacturers Assoc 7100-000            865.00      N/A            N/A            0.00

 NOTFILED   Indiana Dept of Revenue c/o 7100-000           2,187.32     N/A            N/A            0.00
            Peoples Bank
 NOTFILED   Jacobi Sales Inc            7100-000           1,110.83     N/A            N/A            0.00

 NOTFILED   Mastercard PO Box J           7100-000         2,096.84     N/A            N/A            0.00

 NOTFILED   The Worthington Co            7100-000         1,100.00     N/A            N/A            0.00

 NOTFILED   Total Truck PArks             7100-000         4,796.43     N/A            N/A            0.00

 NOTFILED   Synergy Partners              7100-000         2,366.85     N/A            N/A            0.00

 NOTFILED   Synenergy Partners            7100-000         1,430.64     N/A            N/A            0.00

 NOTFILED   Spray Insulation components 7100-000            144.58      N/A            N/A            0.00

 NOTFILED   Sue Henry                     7100-000        54,200.00     N/A            N/A            0.00

 NOTFILED   Tynan Equipment               7100-000          997.52      N/A            N/A            0.00

 NOTFILED   Verion Wireless               7100-000          514.30      N/A            N/A            0.00

 NOTFILED   UHL Truck Sales               7100-000         2,315.33     N/A            N/A            0.00

 NOTFILED   Whalen Trucking Inc           7100-000         5,203.35     N/A            N/A            0.00

 NOTFILED   Whiteland United Methodist    7100-000          930.60      N/A            N/A            0.00

 NOTFILED   West Lafayette St Dept        7100-000        16,175.45     N/A            N/A            0.00

 NOTFILED   Walker Recycling              7100-000        17,984.00     N/A            N/A            0.00




UST Form 101-7-TDR (10/1/2010)
        Case 15-91495-AKM-7A             Doc 303     Filed 05/14/20   EOD 05/14/20 09:35:52   Pg 11 of 32

 NOTFILED   Verizon Wireless              7100-000          514.28      N/A            N/A            0.00

 NOTFILED   VHI Transport                 7100-000         8,500.00     N/A            N/A            0.00

 NOTFILED   Snider Parts                  7100-000           80.91      N/A            N/A            0.00

 NOTFILED   Sims Sawmill                  7100-000         4,190.00     N/A            N/A            0.00

 NOTFILED   Norton Occupational Medicine 7100-000            45.00      N/A            N/A            0.00

 NOTFILED   Oxco                          7100-000         4,427.50     N/A            N/A            0.00

 NOTFILED   Nichols Electronics           7100-000          336.20      N/A            N/A            0.00

 NOTFILED   Midland Davis Corporation     7100-000        40,682.73     N/A            N/A            0.00

 NOTFILED   Mead Mead Clark & Scifres PC 7100-000          5,100.94     N/A            N/A            0.00

 NOTFILED   Medtherm Corporation          7100-000         1,293.97     N/A            N/A            0.00

 NOTFILED   Pitney Bowes                  7100-000          149.03      N/A            N/A            0.00

 NOTFILED   Primary Packaging             7100-000         2,000.00     N/A            N/A            0.00

 NOTFILED   PLS Logistice Services        7100-000          600.00      N/A            N/A            0.00

 NOTFILED   Robert Clark Roberts          7100-000         2,298.76     N/A            N/A            0.00

 NOTFILED   Rumpke                        7100-000        20,453.70     N/A            N/A            0.00

 NOTFILED   Republic Services Recycling 7100-000           8,324.45     N/A            N/A            0.00
            North
 NOTFILED   Rainbow Printing            7100-000            266.06      N/A            N/A            0.00

 NOTFILED   QRS                           7100-000         2,612.70     N/A            N/A            0.00

 NOTFILED   Rainbow Printing              7100-000         3,184.32     N/A            N/A            0.00

 NOTFILED   Flexible Packaging            7100-000        27,585.65     N/A            N/A            0.00

 NOTFILED   Columbus Industrial Electric 7100-000          3,844.63     N/A            N/A            0.00

 NOTFILED   Culligan of Seymour           7100-000          723.83      N/A            N/A            0.00

 NOTFILED   Clarks                        7100-000           30.00      N/A            N/A            0.00

 NOTFILED   Cintas Location #529          7100-000         1,777.64     N/A            N/A            0.00

 NOTFILED   Central Ky Fiber Resources    7100-000         1,851.20     N/A            N/A            0.00

 NOTFILED   CH Robinson                   7100-000         1,950.00     N/A            N/A            0.00

 NOTFILED   Curt L. Sikes                 7100-000           35.00      N/A            N/A            0.00

 NOTFILED   DAT Solutions LLC             7100-000          198.00      N/A            N/A            0.00

 NOTFILED   Duplicator Sales & Service    7100-000           14.94      N/A            N/A            0.00

 NOTFILED   EFS c/o Peoples Bank          7100-000         5,043.88     N/A            N/A            0.00

 NOTFILED   Duplicator Sales & Service    7100-000          419.26      N/A            N/A            0.00

 NOTFILED   Douglas Brougher              7100-000        61,175.37     N/A            N/A            0.00

 NOTFILED   David Bowling                 7100-000             8.60     N/A            N/A            0.00

 NOTFILED   Dorsey's Auto Body Center     7100-000           69.95      N/A            N/A            0.00




UST Form 101-7-TDR (10/1/2010)
        Case 15-91495-AKM-7A            Doc 303     Filed 05/14/20    EOD 05/14/20 09:35:52           Pg 12 of 32

 NOTFILED   Cellulose Insulation Mfg Asn 7100-000         20,000.00      N/A                 N/A                0.00

 NOTFILED   Capital Premium Financing    7100-000          2,165.08      N/A                 N/A                0.00
            Inc
 NOTFILED   Airgas Welding & Therapy     7100-000           790.56       N/A                 N/A                0.00
            Service Inc
 NOTFILED   FedEx                        7100-000             74.70      N/A                 N/A                0.00

 NOTFILED   Armstrong Transport Group    7100-000          2,125.00      N/A                 N/A                0.00
            Inc
 NOTFILED   Brian Blackburn Electric     7100-000          1,822.47      N/A                 N/A                0.00

 NOTFILED   Bridges Smith & Co Inc       7100-000          2,475.00      N/A                 N/A                0.00

 NOTFILED   Boy Scout Troop #336 c/o     7100-000           332.75       N/A                 N/A                0.00
            Brenda Trapnell
 NOTFILED   Blue & Co                    7100-000         13,925.00      N/A                 N/A                0.00

 NOTFILED   Best Way Disposal            7100-000          2,781.32      N/A                 N/A                0.00

 NOTFILED   Bedford Times Mail           7100-000         14,779.51      N/A                 N/A                0.00

 TOTAL GENERAL UNSECURED                              $1,329,380.78   $2,994,345.50   $2,983,251.35      $497,098.10
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
               Case 15-91495-AKM-7A                          Doc 303         Filed 05/14/20               EOD 05/14/20 09:35:52                      Pg 13 of 32

                                                                                                                                                                 Exhibit 8


                                                                            Form 1                                                                               Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 15-91495-7-AKM                                                         Trustee:        (340300)     Kathryn L. Pry
Case Name:        Regal Industries, Inc.                                            Filed (f) or Converted (c): 08/20/15 (f)
                                                                                    §341(a) Meeting Date:        10/07/15
Period Ending: 05/13/20                                                             Claims Bar Date:             11/30/15

                                 1                                  2                          3                      4                 5                    6

                    Asset Description                            Petition/            Estimated Net Value         Property         Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,   Abandoned         Received by       Administered (FA)/
                                                                  Values            Less Liens, Exemptions,      OA=§554(a)         the Estate        Gross Value of
Ref. #                                                                                  and Other Costs)                                             Remaining Assets

 1       9564 E County, Crothersville, IN 47229                 2,000,000.00                    20,000.00                              231,000.00                    FA
          Imported from original petition Doc# 1

 2       4557 N US Hwy 31, Austin IN 47102                        150,000.00                           0.00                            212,500.00                    FA
          Imported from original petition Doc# 1

 3       Regal Tranport Inc checking acct - Peoples Bank            1,602.00                       1,602.00                                 248.92                   FA
          Imported from original petition Doc# 1

 4       Murray Investments LLC Checking acct - Peoples B               445.37                      445.37                                  414.37                   FA
          Imported from original petition Doc# 1

 5       Checking acct - Peoples Bank                              10,705.00                    10,705.00                               10,704.71                    FA
          Imported from original petition Doc# 1

 6       Regal Transport, Inc.                                            0.00                         0.00         OA                        0.00                   FA
          This is filed as a D/B/A for the debtor company.

 7       Murray Investments LLC                                           0.00                         0.00         OA                        0.00                   FA
          This is filed as a D/B/A for the debtor company.

 8       Bowling Transport                                          Unknown                     15,000.00                                4,560.00                    FA
          Imported from original petition Doc# 1

 9       Busy Beaver 576 shares                                     Unknown                            0.00         OA                        0.00                   FA
          Imported from original petition Doc# 1

10       A/R                                                       49,952.40                    49,952.40                               13,556.61                    FA
          Imported from original petition Doc# 1

11       Four (4) trucks                                           72,000.00                       2,000.00                             75,000.00                    FA
          Imported from original petition Doc# 1

12       Three (3) pickup trucks & 100 trailers (see atta         107,000.00                   107,000.00                              275,000.00                    FA
          Imported from original petition Doc# 1

13       Furnishings etc                                           15,000.00                    15,000.00                                3,000.00                    FA
          Imported from original petition Doc# 1

14       machinery, equipment, fixture and 1472 Predators         841,065.00                   841,065.00                              150,000.00                    FA
          Imported from original petition Doc# 1

15       Inventory                                                 17,400.00                    17,400.00                                3,392.40                    FA
          Imported from original petition Doc# 1

16       second account at People's Bank (u)                              0.00                      280.76                                  280.76                   FA

17       Claim filed in Ch13 of T Lightsey11-42683AL (u)                  0.00                       75.00                                   67.07                   FA

                                                                                                                                  Printed: 05/13/2020 10:48 AM    V.15.00
               Case 15-91495-AKM-7A                                Doc 303            Filed 05/14/20                  EOD 05/14/20 09:35:52                             Pg 14 of 32

                                                                                                                                                                                      Exhibit 8


                                                                                     Form 1                                                                                           Page: 2

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 15-91495-7-AKM                                                                   Trustee:          (340300)       Kathryn L. Pry
Case Name:         Regal Industries, Inc.                                                     Filed (f) or Converted (c): 08/20/15 (f)
                                                                                              §341(a) Meeting Date:            10/07/15
Period Ending: 05/13/20                                                                       Claims Bar Date:                 11/30/15

                                 1                                           2                             3                          4                    5                      6

                     Asset Description                                   Petition/             Estimated Net Value               Property            Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,         Abandoned            Received by        Administered (FA)/
                                                                          Values             Less Liens, Exemptions,            OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                           and Other Costs)                                                       Remaining Assets

18        Petty Cash (u)                                                          33.73                          33.73                                          33.73                      FA

19        Dividends (u)                                                            0.00                          54.00                                          54.00                      FA

20        Insurance premium refunds (u)                                            0.00                          20.00                                          19.50                      FA

21        Regal Rental payments for additional property                            0.00                     20,000.00                                      45,000.00                       FA
           Underlying real estate is fully secured, but mortgage
          failed to include rents, so they belong to estate

22        Jackson County REMC Capital credits retirement (u)                       0.00                     15,142.61                                     245,142.61                       FA

23        Dir. Purchaser Class Action with Schaeffler Defe (u)                     0.00                          10.00             OA                            0.00                      FA

24        Residual assets (u)                                                      0.00                        5,000.00                                     5,000.00                       FA

 24      Assets      Totals (Excluding unknown values)                  $3,265,203.50                  $1,120,785.87                                  $1,274,974.68                     $0.00



      Major Activities Affecting Case Closing:

                  Final assets liquidated. Final tax returns being prepared. Wage claimants paid. Numerous tax issues being resolved prior to filing of final report. Both IRS and State
                  of Indiana issued notices on taxes. Accountant is resolving all issues prior to filing final estate returns. As soon as those all resolved, final returns can be prepared.
                  Fee request (interim) filed for Marietta.

      Initial Projected Date Of Final Report (TFR):           December 31, 2016                 Current Projected Date Of Final Report (TFR):            December 5, 2019 (Actual)




                                                                                                                                                    Printed: 05/13/2020 10:48 AM       V.15.00
               Case 15-91495-AKM-7A                            Doc 303             Filed 05/14/20                    EOD 05/14/20 09:35:52                           Pg 15 of 32

                                                                                                                                                                                    Exhibit 9


                                                                                     Form 2                                                                                          Page: 1

                                                         Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                      Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                              Bank Name:          Mechanics Bank
                                                                                                        Account:            ******4866 - Checking Account
Taxpayer ID #: **-***3188                                                                               Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                 Separate Bond: N/A

   1            2                             3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                    $       Account Balance
08/25/15      {10}        Ultra Logistics, Inc.               Payment of Account Receivable                        1121-000                 512.00                                   512.00
08/25/15      {10}        B-Lak Logistic Services, Inc        Payment of Account Receivable                        1121-000                 625.00                                  1,137.00
08/25/15      {10}        L.J. Leonard Logistics, Inc.        Payment of Account Receivable                        1121-000                 900.00                                  2,037.00
08/31/15                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                        10.00            2,027.00
09/03/15                  From Account #******4868            Transfer of Regal Transport funds to account         9999-000                 248.92                                  2,275.92
                                                              holding that entity funds
06/14/16                  From Account #******4868            transfer of funds attributable to Regal              9999-000           241,703.40                            243,979.32
                                                              Transport, Inc. assets from auction sale to
                                                              account with Regal Transport monies
06/30/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       727.86    243,251.46
07/29/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       641.88    242,609.58
08/31/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       733.69    241,875.89
09/30/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       669.72    241,206.17
10/31/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       648.87    240,557.30
11/30/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       718.67    239,838.63
12/30/16                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       684.19    239,154.44
01/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       723.07    238,431.37
02/28/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       623.64    237,807.73
03/25/17      101         Marietta Financial Services, Inc    accounting fees per 3/25/17 order                    3410-000                                       874.00    236,933.73
03/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       690.92    236,242.81
04/28/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       620.24    235,622.57
05/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       722.66    234,899.91
06/30/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       651.79    234,248.12
07/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       628.56    233,619.56
08/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       714.32    232,905.24
09/29/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       626.54    232,278.70
10/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       690.28    231,588.42
11/30/17                  Rabobank, N.A.                      Bank and Technology Services Fee                     2600-000                                       646.01    230,942.41
12/29/17                  To Account #******4871              transfer for substantive consolidation order         9999-000                                 230,942.41                  0.00
                                                              11/30/17

                                                                                    ACCOUNT TOTALS                                    243,989.32            243,989.32                $0.00
                                                                                              Less: Bank Transfers                    241,952.32            230,942.41
                                                                                    Subtotal                                             2,037.00             13,046.91
                                                                                              Less: Payments to Debtors                                             0.00
                                                                                    NET Receipts / Disbursements                       $2,037.00            $13,046.91




{} Asset reference(s)                                                                                                                            Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                    Doc 303       Filed 05/14/20                 EOD 05/14/20 09:35:52                          Pg 16 of 32

                                                                                                                                                                   Exhibit 9


                                                                      Form 2                                                                                       Page: 2

                                                 Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                             Bank Name:          Mechanics Bank
                                                                                       Account:            ******4867 - Checking Account
Taxpayer ID #: **-***3188                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                Separate Bond: N/A

   1            2                            3                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From      Description of Transaction              T-Code              $                    $       Account Balance

   (No Transactions on File for this Period)                          ACCOUNT TOTALS                                         0.00                 0.00               $0.00
                                                                             Less: Bank Transfers                            0.00                 0.00
                                                                      Subtotal                                               0.00                 0.00
                                                                             Less: Payments to Debtors                                            0.00
                                                                      NET Receipts / Disbursements                          $0.00                $0.00




{} Asset reference(s)                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                           Doc 303              Filed 05/14/20                    EOD 05/14/20 09:35:52                            Pg 17 of 32

                                                                                                                                                                                     Exhibit 9


                                                                                      Form 2                                                                                          Page: 3

                                                      Cash Receipts And Disbursements Record
Case Number:         15-91495-7-AKM                                                                      Trustee:            Kathryn L. Pry (340300)
Case Name:           Regal Industries, Inc.                                                              Bank Name:          Mechanics Bank
                                                                                                         Account:            ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                                Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                  Separate Bond: N/A

   1            2                             3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                   T-Code              $                    $       Account Balance
09/01/15                   Peoples Bank/Regal Industries     funds on deposit, Regal Industry monies,                                   11,648.76                                11,648.76
                                                             248.92 will be transferred to Regal Transport,
                                                             414.37 will be transferred to Murray
               {3}                                              bank account in name of               248.92        1129-000                                                     11,648.76
                                                                Regal Transport, Inc.
               {4}                                              bank account in name of               414.37        1129-000                                                     11,648.76
                                                                Murray Investment
               {5}                                              bank account in name of            10,704.71        1129-000                                                     11,648.76
                                                                Regal Industries, Inc.
              {16}                                              second account in name                280.76        1229-000                                                     11,648.76
                                                                of Regal Industries, Inc.
09/03/15                   To Account #******4866            Transfer of Regal Transport funds to account           9999-000                                       248.92        11,399.84
                                                             holding that entity funds
09/03/15                   To Account #******4869            Transfer of monies from People's Murray                9999-000                                       414.37        10,985.47
                                                             account to estate account holding those funds
09/11/15      {10}         Linda Gore, Standing Trustee      Payment on Ch. 13 claim in bankruptcy case of 1121-000                           14.70                              11,000.17
                                                             Tim Lightley.
09/11/15      {18}         First Harrison Bank               money from two petty cash drawers in office at         1229-000                  33.73                              11,033.90
                                                             Regal Industries, Inc.
09/14/15      101          Trustee Insurance Agency          property insurance premium (per court order            2420-000                                   3,131.16              7,902.74
                                                             9/14/15)
09/14/15      102          Trustee Insurance Company         commercial liability insurance (per 9/14/15            2420-000                                       952.00            6,950.74
                                                             court order)
09/25/15      103          Trustee Insurance Agency          property insurance - per court order dated             2420-000                                   3,131.16              3,819.58
                                                             9/14/15
09/30/15                   Rabobank, N.A.                    Bank and Technology Services Fee                       2600-000                                        13.34            3,806.24
10/06/15      104          Jackson County REMC               electric bill payment so lights dont turn off,         2420-000                                       168.90            3,637.34
                                                             approved Mary Lou at REMC
10/27/15      105          Trustee Insurance Agency          payment of insurance per court order 9/14/15           2420-000                                   3,131.16               506.18
10/30/15                   Rabobank, N.A.                    Bank and Technology Services Fee                       2600-000                                        10.00             496.18
11/18/15      {10}         Lumberman's Merchandising         payment on accounts receivable                         1121-000            11,504.91                                12,001.09
                           Corporation
11/27/15      {19}         Amerisure Insurance               dividend on Affitinity Group program                   1223-000                  54.00                              12,055.09
11/27/15      106          Trustee Insurance Agency          insurance payment per court order 9/14/15              2420-000                                   3,131.16              8,923.93
11/30/15                   Rabobank, N.A.                    Bank and Technology Services Fee                       2600-000                                        10.00            8,913.93
12/07/15      {20}         Lincoln Financial Group           premium refunds                                        1290-000                   1.50                                  8,915.43
12/07/15      {17}         Linda B. Gore, Standing Trustee   Payment from Chapter 13 trustee                        1249-000                   6.47                                  8,921.90
12/07/15      {20}         Lincoln Financial Group           premium refunds                                        1290-000                  18.00                                  8,939.90

                                                                                                          Subtotals :                  $23,282.07            $14,342.17
{} Asset reference(s)                                                                                                                             Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303              Filed 05/14/20                     EOD 05/14/20 09:35:52                            Pg 18 of 32

                                                                                                                                                                                       Exhibit 9


                                                                                        Form 2                                                                                         Page: 4

                                                      Cash Receipts And Disbursements Record
Case Number:         15-91495-7-AKM                                                                      Trustee:              Kathryn L. Pry (340300)
Case Name:           Regal Industries, Inc.                                                              Bank Name:            Mechanics Bank
                                                                                                         Account:              ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                                Blanket Bond:         $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                  Separate Bond: N/A

   1            2                             3                                          4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                                  Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                    T-Code              $                    $       Account Balance
12/18/15      {21}         Ryder                              rental payments from Ryder                             1122-000             10,000.00                                18,939.90
12/28/15       {8}         Bowling Transport, Inc.`           dividends on stock                                     1123-000               1,560.00                               20,499.90
12/28/15      107          Trustee Insurance Agency           insurance payment per court order 9/14/15              2420-000                                    3,131.16          17,368.74
12/31/15                   Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                         21.25        17,347.49
01/08/16      {17}         Linda B. Gore                      payment from chapter 13 trustee                        1249-000                    5.30                              17,352.79
01/25/16      {21}         Ryder                              rental payment                                         1122-000               2,500.00                               19,852.79
01/26/16      108          Trustee Insurance Agency           payment of insurance invoice per court order           2420-000                                    3,131.16          16,721.63
                                                              9/14/15
01/29/16                   Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                         25.46        16,696.17
02/03/16      {21}         Ryder                              rental payment                                         1122-000               2,500.00                               19,196.17
02/04/16      109          Trustee Insurance Company          commericial liability policy per court order           2420-000                                        944.00        18,252.17
                                                              9/14/15
02/11/16      {17}         Linda B. Gore, Standing Trustee    payment from chapter 13                                1249-000                   14.93                              18,267.10
02/28/16      110          Trustee Insurance Agency           payment on insurance premium per court order 2420-000                                              3,131.16          15,135.94
                                                              9/14/15
03/01/16                   Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                         25.89        15,110.05
03/04/16      {21}         Ryder Truck Rental, Inc.           rental payment                                         1122-000               2,500.00                               17,610.05
03/28/16      {21}         Ryder Truck Rental, Inc.           rental payment                                         1122-000               2,500.00                               20,110.05
03/31/16      111          Trustee Insurance Agency           payment of insurance premium per court order           2420-000                                    3,131.16          16,978.89
                                                              9/14/15
03/31/16                   Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                         28.29        16,950.60
04/21/16      112          Trustee Insurance Agency           per court order dated 9/14/15                          2420-000                                    3,131.16          13,819.44
04/29/16                   Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                         24.10        13,795.34
04/30/16      {21}         Ryder Truck Rental, Inc            rental payment                                         1122-000               2,500.00                               16,295.34
05/09/16                   Salem Title Corp Escrow Account    Carve out for estate from sale of real estate                               30,000.00                                46,295.34
               {1}                                               sale of Crothersville, IN        231,000.00         1110-000                                                      46,295.34
                                                                 property
                              People's Bank                      Payoff toward first             -121,833.45         4110-000                                                      46,295.34
                                                                 mortgage
                              County Treasurer, Jackson Co.      spring and fall taxes            -33,427.48         2820-000                                                      46,295.34
                                                                 2015, due 2016
                              County Treasurer, Jackson Co.      delinquent taxes due to          -13,770.48         2820-000                                                      46,295.34
                                                                 County Treasurer
                              Jackson Co. Treasurer              County taxes due                   -5,708.24        2820-000                                                      46,295.34
                              Beckort Auctions LLC               Commission from                  -21,000.00         3610-000                                                      46,295.34
                                                                 auction sale of real
                                                                 estate
                              Beckort Auctions LLC               advertising expenses               -5,230.35        3620-000                                                      46,295.34
                                                                                                             Subtotals :                 $54,080.23            $16,724.79
{} Asset reference(s)                                                                                                                               Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                          Doc 303               Filed 05/14/20                  EOD 05/14/20 09:35:52                            Pg 19 of 32

                                                                                                                                                                                   Exhibit 9


                                                                                   Form 2                                                                                          Page: 5

                                                      Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                             Bank Name:          Mechanics Bank
                                                                                                       Account:            ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                Separate Bond: N/A

   1            2                            3                                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                    T-Code              $                    $       Account Balance
                             Salem Title Company               document prep fees                     -15.00      2500-000                                                     46,295.34
                             Jackson Co. Auditor               Sales Disclosure Fee                   -15.00      2500-000                                                     46,295.34
05/16/16      {17}        Linda B. Gore, Standing Trustee   payment from chapter 13                               1249-000                  6.48                               46,301.82
05/16/16                  Beckort Auctions LLC              auction proceeds                                                         413,056.38                            459,358.20
                             Beckort Auctions LLC              Auctioneer commission            -45,944.40        3610-000                                                 459,358.20
                             Beckort Auctions LLC              Auction expenses                 -47,391.62        3620-000                                                 459,358.20
              {12}                                             Gross auction receipts          275,000.00         1129-000                                                 459,358.20
                                                               (non real estate) on
                                                               trucks trailers
              {14}                                             Gross auction receipts          150,000.00         1129-000                                                 459,358.20
                                                               (non real estate)
                                                               attributed to
                                                               machinery/equipment
              {13}                                             gross auction proceeds             3,000.00        1129-000                                                 459,358.20
                                                               attributed to furnishings
              {15}                                             gross auction proceeds             3,392.40        1129-000                                                 459,358.20
                                                               attributed to inventory
              {11}                                             gross auction proceeds           75,000.00         1129-000                                                 459,358.20
                                                               attributed to 4 trucks
05/30/16      {21}        Ryder Truck Rental                rental payment on other property                      1122-000              2,500.00                           461,858.20
05/31/16                  Rabobank, N.A.                    Bank and Technology Services Fee                      2600-000                                       285.05    461,573.15
06/08/16      {17}        Linda B. Gore                     Chapter 13 payment                                    1249-000                  5.29                           461,578.44
06/14/16                  To Account #******4866            transfer of funds attributable to Regal               9999-000                                 241,703.40      219,875.04
                                                            Transport, Inc. assets from auction sale to
                                                            account with Regal Transport monies
06/14/16                  To Account #******4869            transfer of carve out from sale of Murray real        9999-000                                   30,000.00     189,875.04
                                                            estate to Murray bank account
07/01/16      {21}        Ryder Truck Rental                rental payments                                       1122-000              2,500.00                           192,375.04
07/22/16      {17}        Linda B. Gore, STanding Trustee   chapter 13 payment from trustee                       1249-000                  5.40                           192,380.44
07/29/16      {21}        Ryder Truck Rentalk, Inc.         Ryder rental payment                                  1122-000              2,500.00                           194,880.44
08/09/16      {17}        Linda B. Gore                     payment from chapter 13 trustee                       1249-000                  5.30                           194,885.74
08/30/16      {21}        Ryder Truck Rental, Inc.          rental payment from Ryder                             1122-000              2,500.00                           197,385.74
09/14/16      113         Tennessee Department of Revenue   EIN # XX-XXXXXXX, Form FAE 170 balance                2820-000                                       100.00    197,285.74
                                                            due for year ended 12/31/15, see docket entry
                                                            #118
09/14/16      114         State of New Jersey - CBT         EIN XX-XXXXXXX, Form CBT-100S, balance                2820-000                                       389.00    196,896.74
                                                            due for the year ended 12/31/15 see docket
                                                            entry #117

                                                                                                        Subtotals :                 $423,078.85         $272,477.45
{} Asset reference(s)                                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303                 Filed 05/14/20                EOD 05/14/20 09:35:52                            Pg 20 of 32

                                                                                                                                                                                     Exhibit 9


                                                                                       Form 2                                                                                        Page: 6

                                                      Cash Receipts And Disbursements Record
Case Number:         15-91495-7-AKM                                                                    Trustee:              Kathryn L. Pry (340300)
Case Name:           Regal Industries, Inc.                                                            Bank Name:            Mechanics Bank
                                                                                                       Account:              ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                              Blanket Bond:         $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                Separate Bond: N/A

   1            2                              3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                  T-Code              $                    $       Account Balance
09/14/16      115          Kentucky State Treasurer           EIN XX-XXXXXXX, Form 720S, balance due for           2820-000                                        175.00    196,721.74
                                                              the year ended 12/31/15 see docket entry
                                                              #116
09/19/16      {17}         Linda Gore, Standing Trustee       Chapter 13 payment                                   1249-000                   5.31                           196,727.05
09/30/16      116          Indiana Bureau of Motor Vehicles   fee for issuanceof lost title                        2500-000                                         15.00    196,712.05
10/01/16      {21}         Ryder Truck Rental Inc.            monthly rental payment                               1122-000               2,500.00                           199,212.05
10/19/16      {17}         Linda B. Gore                      chapter 13 payment                                   1249-000                   6.72                           199,218.77
10/30/16      {21}         Ryder Truck Rental, Inc.           rental payment from Ryder                            1122-000               2,500.00                           201,718.77
11/15/16      {17}         Linda B. Gore                      chapter 13 payment from Trustee                      1249-000                   5.97                           201,724.74
11/15/16      {17}         Linda B. Gore                      Deposit Correction- chapter 13 payment from          1249-000                   -0.10                          201,724.64
                                                              Trustee
11/28/16      {21}         Ryder Truck Rental, Inc.           Ryder payment on real estate                         1122-000               2,500.00                           204,224.64
12/16/16       {2}         Ryder Truck Rental                 Earnest money for sale                               1110-000               4,000.00                           208,224.64
12/19/16      {22}         Jackson County REMC                capital credits refund                               1229-000             15,142.61                            223,367.25
12/22/16                   To Account #******4870             transfer of Earnest money to keep it                 9999-000                                     4,000.00     219,367.25
                                                              segregated until sale happens
12/28/16      117          Clerk, United States Bankruptcy    Filing fee - Motion to sell                          2700-000                                        181.00    219,186.25
                           Court                              Voided on 06/22/17
01/02/17      {21}         Ryder Truck Rental, Inc.           rental payment from Ryder                            1122-000               2,500.00                           221,686.25
01/03/17      118          Rubin & Levin                      per court order dated 1/3/17                                                                     25,649.76     196,036.49
                                                                 Attorney fees per 1/3/17         25,452.50        3210-000                                                  196,036.49
                                                                 order
                                                                 Attorney expenses per                197.26       3220-000                                                  196,036.49
                                                                 1/3/17 order
01/26/17      119          Tennessee Department of Revenue    Tax payment due to close out state of                2820-000                                         63.41    195,973.08
                                                              Tennessee
01/26/17      120          State of Arkansas                  ad valorum taxes assessed two years in               2820-000                                         18.75    195,954.33
                                                              arrears
01/27/17      121          Indiana Department of Workforce    payment of taxes due                                 2820-000                                         29.52    195,924.81
                           Development
01/30/17      {21}         Ryder Truck Rental, Inc.           rental payment from Ryder                            1122-000               2,500.00                           198,424.81
02/14/17      122          United States Bankruptcy Court     fee for motion to sell (docket entry #155)           2700-000                                        181.00    198,243.81
02/22/17      123          Commissioner of Taxation and       paymentof assessment ID #L-045392282-8               2820-000                                         50.00    198,193.81
                           Finance
03/03/17      124          Dale & Eke LLC                     per court order dated 3/2/17 (docket entry                                                       61,725.15     136,468.66
                                                              #170)
                                                                 per court order dated            58,697.50        3210-000                                                  136,468.66
                                                                 3/2/17 (docket entry

                                                                                                           Subtotals :                 $31,660.51            $92,088.59
{} Asset reference(s)                                                                                                                             Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303                Filed 05/14/20                 EOD 05/14/20 09:35:52                           Pg 21 of 32

                                                                                                                                                                                     Exhibit 9


                                                                                       Form 2                                                                                        Page: 7

                                                      Cash Receipts And Disbursements Record
Case Number:         15-91495-7-AKM                                                                      Trustee:            Kathryn L. Pry (340300)
Case Name:           Regal Industries, Inc.                                                              Bank Name:          Mechanics Bank
                                                                                                         Account:            ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                                Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                  Separate Bond: N/A

   1            2                             3                                           4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From                     Description of Transaction                T-Code              $                    $       Account Balance
                                                                   #170)
                                                                   per court order dated            3,027.65        3220-000                                                 136,468.66
                                                                   3/2/17 (docket entry
                                                                   #170)
03/06/17       {8}         Bowling Transport, Inc.            sale of stock                                         1123-000              3,000.00                           139,468.66
03/09/17                   Seymour Abstract & Title Escrow    closing - 4557N US Hwy 31                                                 56,956.00                            196,424.66
                           Account
               {2}            Ryder Truck Rental, Inc.             sale of real estate 4557      208,500.00         1110-000                                                 196,424.66
                                                                   US Hwy 131, Total sale
                                                                   price $230,000.00, less
                                                                   credit for 4000 deposit
                                                                   previously received and
                                                                   $17,500.00 for rents
                                                                   received after sale price
                                                                   agreed upon.
                              Florence Royalty                     Florance Royalty              -150,000.00        4110-000                                                 196,424.66
                                                                   mortgage payoff
                              Seymour Abstract & Title             settlement/closing fee              -579.00      2500-000                                                 196,424.66
                              Seymour Abstract & Title             Settlement/closing fee              -350.00      2500-000                                                 196,424.66
                              Seymour Abstract & Title             Lenders title insurance             -610.00      2500-000                                                 196,424.66
                                                                   TIEFF to ANTIC                        -5.00      2500-000                                                 196,424.66
03/09/17                   From Account #******4870           transfer to close out account, this is the deposit    9999-000              4,000.00                           200,424.66
                                                              from real estate closing for 4557 US Highway
                                                              31
03/25/17      125          Marietta Financial Services, Inc   accounting fees per court order dated March           3410-000                                       30.00     200,394.66
                                                              20, 2017
03/25/17      126          Robert Spicer                      accounting services per March 20, 2017 order          7100-000                                    2,772.00     197,622.66
                                                              Voided on 03/26/17
03/26/17      126          Robert Spicer                      accounting services per March 20, 2017 order          7100-000                                   -2,772.00     200,394.66
                                                              Voided: check issued on 03/25/17
03/26/17      127          Marietta Financial Services, Inc   Accounting fee per court order dated March 20, 3410-000                                           2,772.00     197,622.66
                                                              2017
04/25/17      128          Marietta Financial Services, Inc   Per court order dated 4/25/17, docket entry                                                       5,396.95     192,225.71
                                                              #179
                                                                   Per court order dated                74.45       3420-002                                                 192,225.71
                                                                   4/25/17, docket entry
                                                                   #179
                                                                   Per court order dated            5,322.50        3410-000                                                 192,225.71
                                                                   4/25/17, docket entry

                                                                                                          Subtotals :                  $63,956.00              $8,198.95
{} Asset reference(s)                                                                                                                             Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                           Doc 303               Filed 05/14/20                    EOD 05/14/20 09:35:52                            Pg 22 of 32

                                                                                                                                                                                     Exhibit 9


                                                                                      Form 2                                                                                         Page: 8

                                                     Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                       Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                               Bank Name:          Mechanics Bank
                                                                                                         Account:            ******4868 - Checking Account
Taxpayer ID #: **-***3188                                                                                Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                  Separate Bond: N/A

   1            2                            3                                             4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                   T-Code              $                    $       Account Balance
                                                                #179
05/18/17      129         Marietta Financial Services, Inc   Accountant fees and expenses per court order                                                       1,763.55     190,462.16
                                                             dated 5/18/17, docket entry #183
                                                                per docket entry #183,               1,689.10       3410-000                                                 190,462.16
                                                                dated 5/18/17
                                                                per docket entry #183,                  74.45       3420-000                                                 190,462.16
                                                                dated 5/18/17
05/23/17      130         Marietta Financial Services, Inc   payment of accounting fees per 5/22 order,             3410-000                                       400.00    190,062.16
                                                             docket entry #186
06/22/17      117         Clerk, United States Bankruptcy    Filing fee - Motion to sell                            2700-000                                       -181.00   190,243.16
                          Court                              Voided: check issued on 12/28/16
08/31/17      131         Clerk, United States Bankruptcy    filing fee - motion to sell property free and clear    2700-000                                       181.00    190,062.16
                          Court                              (Docket Entry #192)
11/30/17      132         Clerk, United States Bankruptcy    filing fee - motion to sell                            2700-000                                       181.00    189,881.16
                          Court
12/04/17      {22}        Jackson County Rural Electric      Sale of REMC Credits                                   1229-000           230,000.00                            419,881.16
                          Membership Corporation
12/07/17      133         JM Partners, LLC                   Break up fee per auction sale                          2500-000                                    2,350.00     417,531.16
12/19/17      134         Rubin & Levin                      attorney fees and expenses per court order                                                        28,151.47     389,379.69
                                                             dated 12/12/17 docket entry #224
                                                                Per court order dated               27,514.00       3210-000                                                 389,379.69
                                                                12/12/17, docket entry
                                                                224
                                                                Per court order dated                  637.47       3220-000                                                 389,379.69
                                                                12/12/17 docket entry
                                                                #224
12/29/17                  To Account #******4871             transfer to complete substantive consolidation         9999-000                                 389,379.69                 0.00
                                                             order 11/30/17

                                                                                     ACCOUNT TOTALS                                    826,057.66            826,057.66                $0.00
                                                                                               Less: Bank Transfers                       4,000.00           665,746.38
                                                                                     Subtotal                                          822,057.66            160,311.28
                                                                                               Less: Payments to Debtors                                             0.00
                                                                                     NET Receipts / Disbursements                     $822,057.66         $160,311.28




{} Asset reference(s)                                                                                                                             Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303             Filed 05/14/20                  EOD 05/14/20 09:35:52                             Pg 23 of 32

                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                        Page: 9

                                                         Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                             Bank Name:          Mechanics Bank
                                                                                                       Account:            ******4869 - Checking Account
Taxpayer ID #: **-***3188                                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                Separate Bond: N/A

   1            2                            3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code              $                    $       Account Balance
09/03/15                  From Account #******4868            Transfer of monies from People's Murray             9999-000                 414.37                                   414.37
                                                              account to estate account holding those funds
06/14/16                  From Account #******4868            transfer of carve out from sale of Murray real      9999-000            30,000.00                                30,414.37
                                                              estate to Murray bank account
11/03/16      101         international Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                        145.87       30,268.50
                                                              BALANCE AS OF 09/30/2016 FOR CASE
                                                              #15-91495
11/06/17      102         international Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                        140.77       30,127.73
                                                              BALANCE AS OF 11/06/2017 FOR CASE
                                                              #15-91495
12/29/17                  To Account #******4871              transfer to complete substantive consolidation      9999-000                                   30,127.73                0.00
                                                              order 11/30/17

                                                                                    ACCOUNT TOTALS                                    30,414.37              30,414.37               $0.00
                                                                                            Less: Bank Transfers                      30,414.37              30,127.73
                                                                                    Subtotal                                                 0.00                 286.64
                                                                                            Less: Payments to Debtors                                               0.00
                                                                                    NET Receipts / Disbursements                            $0.00                $286.64




{} Asset reference(s)                                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                        Doc 303              Filed 05/14/20                  EOD 05/14/20 09:35:52                           Pg 24 of 32

                                                                                                                                                                                Exhibit 9


                                                                                 Form 2                                                                                         Page: 10

                                                     Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                  Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                          Bank Name:          Mechanics Bank
                                                                                                    Account:            ******4870 - Checking Account
Taxpayer ID #: **-***3188                                                                           Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                             Separate Bond: N/A

   1            2                            3                                     4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                   T-Code              $                    $       Account Balance
12/22/16                  From Account #******4868        transfer of Earnest money to keep it                 9999-000              4,000.00                                   4,000.00
                                                          segregated until sale happens
03/09/17                  To Account #******4868          transfer to close out account, this is the deposit   9999-000                                   4,000.00                  0.00
                                                          from real estate closing for 4557 US Highway
                                                          31

                                                                                 ACCOUNT TOTALS                                      4,000.00             4,000.00                $0.00
                                                                                         Less: Bank Transfers                        4,000.00             4,000.00
                                                                                 Subtotal                                                 0.00                 0.00
                                                                                         Less: Payments to Debtors                                             0.00
                                                                                 NET Receipts / Disbursements                            $0.00                $0.00




{} Asset reference(s)                                                                                                                        Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                        Doc 303              Filed 05/14/20                 EOD 05/14/20 09:35:52                             Pg 25 of 32

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 11

                                                     Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                 Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                         Bank Name:          Mechanics Bank
                                                                                                   Account:            ******4871 - Checking Account
Taxpayer ID #: **-***3188                                                                          Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                            Separate Bond: N/A

   1            2                            3                                      4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                    $       Account Balance
12/29/17                  From Account #******4866        transfer for substantive consolidation order        9999-000           230,942.41                            230,942.41
                                                          11/30/17
12/29/17                  From Account #******4868        transfer to complete substantive consolidation      9999-000           389,379.69                            620,322.10
                                                          order 11/30/17
12/29/17                  From Account #******4869        transfer to complete substantive consolidation      9999-000            30,127.73                            650,449.83
                                                          order 11/30/17
01/08/18      {24}        Oak Point Partners, Inc.        sale of remnant assets                              1229-000              5,000.00                           655,449.83
01/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                   1,034.40      654,415.43
02/28/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       878.52    653,536.91
03/30/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       940.01    652,596.90
04/06/18     10101        Rubin & Levin                   payment of fees and expenses                                                                   6,347.31      646,249.59
                                                             per court order dated 4/6         6,127.50       3210-000                                                 646,249.59
                                                             docket entry 243
                                                             per court order dated 4/6           219.81       3220-000                                                 646,249.59
                                                             docket entry 243
04/30/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       902.20    645,347.39
05/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                   1,021.14      644,326.25
06/29/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       895.87    643,430.38
07/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       987.18    642,443.20
08/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       954.86    641,488.34
09/25/18     10102        Gregory J Jaegers               Dividend paid 100.00% on $2,152.78; Claim#          5300-000                                   2,152.78      639,335.56
                                                          8; Filed: $2,613.45; Reference: 497 70 6685
09/25/18     10103        Robert Clark Roberts            Dividend paid 100.00% on $1,985.09; Claim#          5300-000                                   1,985.09      637,350.47
                                                          24; Filed: $2,404.76; Reference: XXX-XX-XXXX
09/28/18                  Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                       492.10    636,858.37
10/31/18     10104        Internal Revenue Service        Federal Income Tax Withheld $496.44/ 1/2 of         2810-000                                       880.34    635,978.03
                                                          FICA $383.90
                                                          Voided on 10/31/18
10/31/18     10104        Internal Revenue Service        Federal Income Tax Withheld $496.44/ 1/2 of         2810-000                                       -880.34   636,858.37
                                                          FICA $383.90
                                                          Voided: check issued on 10/31/18
10/31/18     10105        Internal Revenue Service        Payment of Form 941 - Third Quarter (wage                                                      1,264.23      635,594.14
                                                          claim taxes) per court order dated 11/28/18
                                                          docket entry #266
                                                             paid per court order                496.44       5300-000                                                 635,594.14
                                                             dated 11/28/18, Docket
                                                             Entry #266
                                                             paid per court order                311.13       5300-000                                                 635,594.14

                                                                                                    Subtotals :                 $655,449.83            $19,855.69
{} Asset reference(s)                                                                                                                       Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303               Filed 05/14/20                EOD 05/14/20 09:35:52                            Pg 26 of 32

                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                        Page: 12

                                                         Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                             Bank Name:          Mechanics Bank
                                                                                                       Account:            ******4871 - Checking Account
Taxpayer ID #: **-***3188                                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                Separate Bond: N/A

   1            2                            3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                    $       Account Balance
                                                                 dated 11/28/18, Docket
                                                                 Entry #266
                                                                 paid per court order                 72.77       5300-000                                                 635,594.14
                                                                 dated 11/28/18, Docket
                                                                 Entry #266
                                                                 paid per court order                 72.77       5800-000                                                 635,594.14
                                                                 dated 11/28/18, Docket
                                                                 Entry #266
                                                                 paid per court order               311.12       5800-000                                                 635,594.14
                                                                 dated 11/28/18, Docket
                                                                 Entry #266
10/31/18     10106        Internal Revenue Services           payment of Form 940 V (wage claim taxes             5800-000                                       301.09    635,293.05
                                                              due)per court order dated 11/28/18 docket
                                                              entry #265
10/31/18     10107        Indiana Department of Workforce     Payment of state taxes per court order dated        5800-000                                       125.46    635,167.59
                          Development                         11/28/18 docket entry #267
10/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                       576.73    634,590.86
11/14/18     10108        international Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                       192.03    634,398.83
                                                              BALANCE AS OF 11/14/2018 FOR CASE
                                                              #15-91495
11/21/18     10109        Indiana Department of Workforce     payment of additional taxes due per Court           2820-000                                       101.36    634,297.47
                          Development                         Order dated 12/14/18 docket entry #271
11/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                       521.84    633,775.63
05/22/19     10110        Marietta Financial Services, Inc    accountant fees and expenses per court order                                                   33,301.41     600,474.22
                                                              dated 5/22/19, docket entry #283
                                                                 accountant fees per             32,673.09        3410-000                                                 600,474.22
                                                                 court order dated
                                                                 5/22/19, docket entry
                                                                 #283
                                                                 accountant expenses per             628.32       3420-000                                                 600,474.22
                                                                 court order dated
                                                                 5/22/19, docket entry
                                                                 #283
08/02/19     10111        Marietta Financial Services, Inc    accounting fees per court order dated 8/2/19,       3410-000                                    3,207.75     597,266.47
                                                              docket entry #289
09/11/19                  Transition Transfer Debit           transfer of funds to United Bank                    9999-000                                 597,266.47                 0.00




                                                                                                       Subtotals :                          $0.00       $635,594.14
{} Asset reference(s)                                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                    Doc 303       Filed 05/14/20                 EOD 05/14/20 09:35:52                          Pg 27 of 32

                                                                                                                                                                   Exhibit 9


                                                                      Form 2                                                                                       Page: 13

                                                 Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                             Bank Name:          Mechanics Bank
                                                                                       Account:            ******4871 - Checking Account
Taxpayer ID #: **-***3188                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                Separate Bond: N/A

   1            2                            3                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From      Description of Transaction              T-Code              $                    $       Account Balance

                                                                      ACCOUNT TOTALS                                 655,449.83            655,449.83                $0.00
                                                                             Less: Bank Transfers                    650,449.83            597,266.47
                                                                      Subtotal                                          5,000.00             58,183.36
                                                                             Less: Payments to Debtors                                            0.00
                                                                      NET Receipts / Disbursements                    $5,000.00            $58,183.36




{} Asset reference(s)                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                        Doc 303            Filed 05/14/20                   EOD 05/14/20 09:35:52                             Pg 28 of 32

                                                                                                                                                                                Exhibit 9


                                                                               Form 2                                                                                           Page: 14

                                                     Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                 Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                         Bank Name:          United Bank
                                                                                                   Account:            ********2270 - Checking Account
Taxpayer ID #: **-***3188                                                                          Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                            Separate Bond: N/A

   1            2                            3                                   4                                                   5                   6                  7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From             Description of Transaction                   T-Code              $                    $       Account Balance
09/11/19                  Transfer from 0061 to 2270      Transfer from 0061 to 2270                          9999-000           597,266.47                             597,266.47
09/12/19     20112        Internal Revenue Service        IRS assessment dated 8/19/19, approved court 2810-000                                               630.17    596,636.30
                                                          order dated 10/7/19, docket entry #295
12/11/19                  Transfer from 2270 to 0969      Transfer from 2270 to 0969                          9999-000                               596,636.30                    0.00

                                                                               ACCOUNT TOTALS                                    597,266.47          597,266.47                   $0.00
                                                                                       Less: Bank Transfers                      597,266.47          596,636.30
                                                                               Subtotal                                                   0.00                630.17
                                                                                       Less: Payments to Debtors                                                0.00
                                                                               NET Receipts / Disbursements                              $0.00               $630.17




{} Asset reference(s)                                                                                                                        Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                            Doc 303            Filed 05/14/20                   EOD 05/14/20 09:35:52                            Pg 29 of 32

                                                                                                                                                                                   Exhibit 9


                                                                                    Form 2                                                                                         Page: 15

                                                     Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                     Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                             Bank Name:          Metropolitan Commercial Bank
                                                                                                       Account:            ******6935 - Checking Account
Taxpayer ID #: **-***3188                                                                              Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                                Separate Bond: N/A

   1            2                              3                                     4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code              $                    $       Account Balance
12/11/19                  Transfer from 4083 to 6935          Transfer from 4083 to 6935                          9999-000           596,636.30                            596,636.30
12/30/19     30113        Jackson County Treasurer            Dividend paid 100.00% on $17,512.03; Claim#         4220-000                                   17,512.03     579,124.27
                                                              42; Filed: $17,512.03; Reference: 0131
12/30/19     30114        INDIANA DEPARTMENT OF               Dividend paid 100.00% on $9,640.73; Claim#          5800-000                                    9,640.73     569,483.54
                          WORKFORCE DEVELOPMENT               41P; Filed: $9,640.73; Reference: 1947
12/30/19     30115        Internal Revenue Service            Dividend paid 100.00% on $8,927.03; Claim#          5800-000                                    8,927.03     560,556.51
                                                              43P; Filed: $8,927.03; Reference:
12/30/19     30116        THE PEOPLES BANK                    Dividend paid 16.69% on $1,187,348.55;              7100-000                                 198,272.75      362,283.76
                                                              Claim# 1 -2; Filed: $1,187,348.55; Reference:
                                                              NONE ON POC
12/30/19     30117        THE PEOPLES BANK                    Dividend paid 16.69% on $518,171.48;                7100-000                                   86,528.32     275,755.44
                                                              Claim# 2 -2; Filed: $518,171.48; Reference:
                                                              NONE ON POC
12/30/19     30118        THE PEOPLES BANK                    Dividend paid 16.69% on $89,461.82; Claim#          7100-000                                   14,939.03     260,816.41
                                                              3 -2; Filed: $89,461.82; Reference: NONE ON
                                                              POC
12/30/19     30119        Bearings Headquarters Co            Dividend paid 16.69% on $2,508.41; Claim# 4; 7100-000                                              418.87    260,397.54
                                                              Filed: $2,508.41; Reference: 5170
12/30/19     30120        Virginia Hiway, Inc. dba VHI        Dividend paid 16.69% on $9,384.67; Claim# 5; 7100-000                                           1,567.13     258,830.41
                          Transport                           Filed: $9,384.67; Reference: 8500
12/30/19     30121        Robert Spicer                       Dividend paid 16.69% on $113,400.00;                7100-000                                   18,936.42     239,893.99
                                                              Claim# 6; Filed: $113,400.00; Reference:
                                                              NONE ON POC
12/30/19     30122        Kyana Packaging & Indust Supply     Dividend paid 16.69% on $2,167.00; Claim# 7; 7100-000                                              361.86    239,532.13
                                                              Filed: $2,167.00; Reference: 5681
12/30/19     30123        Altair Partners LP                  Dividend paid 16.69% on $62,028.55; Claim#          7100-000                                   10,358.01     229,174.12
                                                              9; Filed: $62,028.55; Reference: NONE ON
                                                              POC
12/30/19     30124        Apollo Oil LLC Attn: David Duvall   Dividend paid 16.69% on $5,138.11; Claim#           7100-000                                       858.00    228,316.12
                                                              10; Filed: $5,138.11; Reference: 1002
12/30/19     30125        Estate of Robert Schildman          Dividend paid 16.69% on $4,633.75; Claim#           7100-000                                       773.78    227,542.34
                                                              11; Filed: $4,633.75; Reference: NONE ON
                                                              POC
                                                              Stopped on 02/05/20
12/30/19     30126        Snyder Trucking LTD                 Dividend paid 16.69% on $750.00; Claim# 12;         7100-000                                       125.24    227,417.10
                                                              Filed: $750.00; Reference: 1739
12/30/19     30127        TSI Trucking, LLC                   Dividend paid 16.69% on $3,400.00; Claim#           7100-000                                       567.76    226,849.34
                                                              13; Filed: $3,400.00; Reference: 3537
12/30/19     30128        PowerOne Logistics LLC              Dividend paid 16.69% on $1,230.00; Claim#           7100-000                                       205.40    226,643.94

                                                                                                       Subtotals :                  $596,636.30         $369,992.36
{} Asset reference(s)                                                                                                                           Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                         Doc 303            Filed 05/14/20                  EOD 05/14/20 09:35:52                            Pg 30 of 32

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 16

                                                      Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                 Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                         Bank Name:          Metropolitan Commercial Bank
                                                                                                   Account:            ******6935 - Checking Account
Taxpayer ID #: **-***3188                                                                          Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                            Separate Bond: N/A

   1            2                            3                                    4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                    $       Account Balance
                                                           14; Filed: $1,230.00; Reference: NONE ON
                                                           POC
                                                           Stopped on 03/10/20
12/30/19     30129        R&L Carriers Inc                 Dividend paid 16.69% on $2,077.27; Claim#          7100-000                                       346.88    226,297.06
                                                           16; Filed: $2,077.27; Reference: G956
12/30/19     30130        National Boraxx Corp.            Dividend paid 16.69% on $30,855.20; Claim#         7100-000                                    5,152.44     221,144.62
                                                           17; Filed: $30,855.20; Reference: NONE ON
                                                           POC
12/30/19     30131        Ramblin Corp.                    Dividend paid 16.69% on $3,548.00; Claim#          7100-000                                       592.47    220,552.15
                                                           18; Filed: $3,548.00; Reference: NONE ON
                                                           POC
12/30/19     30132        Donco Paper Supply Co            Dividend paid 16.69% on $4,835.29; Claim#          7100-000                                       807.43    219,744.72
                                                           19; Filed: $4,835.29; Reference: NONE ON
                                                           POC
12/30/19     30133        Dayton Freight Lines, Inc        Dividend paid 16.69% on $2,894.02; Claim#          7100-000                                       483.27    219,261.45
                                                           20; Filed: $2,894.02; Reference: 1792
12/30/19     30134        James E Myers                    Dividend paid 16.69% on $350.00; Claim# 21;        7100-000                                        58.45    219,203.00
                                                           Filed: $350.00; Reference: NONE ON POC
12/30/19     30135        R&D Service                      Dividend paid 16.69% on $19,995.56; Claim#         7100-000                                    3,339.01     215,863.99
                                                           22; Filed: $19,995.56; Reference: NONE ON
                                                           POC
12/30/19     30136        WestCompany fka Rock-Tenn        Dividend paid 16.69% on $208,749.88;               7100-000                                   34,858.69     181,005.30
                          Company                          Claim# 23; Filed: $208,749.88; Reference:
                                                           0687
12/30/19     30137        Linn Paper Stock Company         Dividend paid 16.69% on $177,786.58;               7100-000                                   29,688.19     151,317.11
                                                           Claim# 25; Filed: $177,786.58; Reference:
                                                           2505
12/30/19     30138        JM Partners LLC                  Dividend paid 16.69% on $234,457.58;               7100-000                                   39,151.56     112,165.55
                                                           Claim# 26; Filed: $234,457.58; Reference:
                                                           3613
12/30/19     30139        Airgas USA LLC                   Dividend paid 16.69% on $7,669.51; Claim#          7100-000                                    1,280.71     110,884.84
                                                           27; Filed: $7,669.51; Reference: 3613
12/30/19     30140        JM Partners, LLC                 Dividend paid 16.69% on $3,045.00; Claim#          7100-000                                       508.48    110,376.36
                                                           28; Filed: $3,045.00; Reference: NONE ON
                                                           POC
12/30/19     30141        Krendl Machine Co.               Dividend paid 16.69% on $2,887.94; Claim#          7100-000                                       482.25    109,894.11
                                                           29; Filed: $2,887.94; Reference: 115/1120076
12/30/19     30142        Fastenal Company                 Dividend paid 16.69% on $201.39; Claim# 30;        7100-000                                        33.63    109,860.48
                                                           Filed: $201.39; Reference: SGIN

                                                                                                   Subtotals :                         $0.00        $116,783.46
{} Asset reference(s)                                                                                                                       Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                          Doc 303               Filed 05/14/20                  EOD 05/14/20 09:35:52                            Pg 31 of 32

                                                                                                                                                                                  Exhibit 9


                                                                                   Form 2                                                                                         Page: 17

                                                    Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                                    Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                            Bank Name:          Metropolitan Commercial Bank
                                                                                                      Account:            ******6935 - Checking Account
Taxpayer ID #: **-***3188                                                                             Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                               Separate Bond: N/A

   1            2                            3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                   T-Code              $                    $       Account Balance
12/30/19     30143        Frontier Communications           Dividend paid 16.69% on $119.15; Claim# 31;          7100-000                                        19.90    109,840.58
                                                            Filed: $119.15; Reference: 3500
12/30/19     30144        United Parcel Service             Dividend paid 16.69% on $332.76; Claim# 34;          7100-000                                        55.57    109,785.01
                                                            Filed: $332.76; Reference: **
12/30/19     30145        Bluegrass Regional Recycling      Dividend paid 16.69% on $4,628.85; Claim#            7100-000                                       772.96    109,012.05
                                                            35; Filed: $4,628.85; Reference: REG1
12/30/19     30146        Lawrence Co Solid Waste Dist      Dividend paid 16.69% on $10,061.00; Claim#           7100-000                                    1,680.06     107,331.99
                                                            36; Filed: $10,061.00; Reference: NONE ON
                                                            POC
12/30/19     30147        Kendrick Paper Stock Co Inc       Dividend paid 16.69% on $25,509.55; Claim#           7100-000                                    4,259.78     103,072.21
                                                            38; Filed: $25,509.55; Reference: 9564
12/30/19     30148        Estate of Lee Royalty (Florence   Dividend paid 16.69% on $237,225.67;                 7100-000                                   39,613.80         63,458.41
                          Royalty, RPI)                     Claim# 40U; Filed: $237,225.67; Reference:
                                                            NONE ON POC
12/30/19     30149        Kathryn L. Pry                    COMBINED CHECK FOR TRUSTEE                                                                      63,458.41                0.00
                                                            COMPENSATION, EXPENSES AND
                                                            INTEREST
                                                               Dividend paid 100.00%             61,497.01       2100-000                                                            0.00
                                                               on $61,497.01; Claim# ;
                                                               Filed: $61,497.01
                                                               Dividend paid 100.00%              1,961.40       2200-000                                                            0.00
                                                               on $1,961.40; Claim# ;
                                                               Filed: $1,961.40
02/05/20     30125        Estate of Robert Schildman        Dividend paid 16.69% on $4,633.75; Claim#            7100-000                                       -773.78            773.78
                                                            11; Filed: $4,633.75; Reference: NONE ON
                                                            POC
                                                            Stopped: check issued on 12/30/19
02/05/20     30150        Barbara Schildman                 Ref # NONE ON POC                                    7100-000                                       773.78               0.00
03/10/20     30128        PowerOne Logistics LLC            Dividend paid 16.69% on $1,230.00; Claim#            7100-000                                       -205.40            205.40
                                                            14; Filed: $1,230.00; Reference: NONE ON
                                                            POC
                                                            Stopped: check issued on 12/30/19
03/10/20     30151        PowerOne Logistics LLC            Ref # NONE ON POC                                    7100-000                                       205.40               0.00

                                                                                   ACCOUNT TOTALS                                   596,636.30            596,636.30                $0.00
                                                                                            Less: Bank Transfers                    596,636.30                    0.00
                                                                                   Subtotal                                                0.00           596,636.30
                                                                                            Less: Payments to Debtors                                             0.00
                                                                                   NET Receipts / Disbursements                           $0.00        $596,636.30




{} Asset reference(s)                                                                                                                          Printed: 05/13/2020 10:48 AM        V.15.00
               Case 15-91495-AKM-7A                           Doc 303          Filed 05/14/20               EOD 05/14/20 09:35:52                             Pg 32 of 32

                                                                                                                                                                             Exhibit 9


                                                                                Form 2                                                                                       Page: 18

                                                   Cash Receipts And Disbursements Record
Case Number:        15-91495-7-AKM                                                               Trustee:            Kathryn L. Pry (340300)
Case Name:          Regal Industries, Inc.                                                       Bank Name:          Metropolitan Commercial Bank
                                                                                                 Account:            ******6935 - Checking Account
Taxpayer ID #: **-***3188                                                                        Blanket Bond:       $36,644,668.00 (per case limit)
Period Ending: 05/13/20                                                                          Separate Bond: N/A

   1            2                            3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction              T-Code              $                    $       Account Balance

                             Net Receipts :            829,094.66
                   Plus Gross Adjustments :            445,880.02                                                                  Net               Net                 Account
        Less Other Noncompensable Items :                   74.45               TOTAL - ALL ACCOUNTS                             Receipts       Disbursements            Balances
                                                  ————————
                                   Net Estate :     $1,274,900.23               Checking # ******4866                             2,037.00             13,046.91                0.00
                                                                                Checking # ******4867                                 0.00                   0.00               0.00
                                                                                Checking # ******4868                          822,057.66            160,311.28                 0.00
                                                                                Checking # ******4869                                 0.00                 286.64               0.00
                                                                                Checking # ******4870                                 0.00                   0.00               0.00
                                                                                Checking # ******4871                             5,000.00             58,183.36                0.00
                                                                                Checking # ********2270                               0.00                 630.17               0.00
                                                                                Checking # ******6935                                 0.00           596,636.30                 0.00

                                                                                                                              $829,094.66         $829,094.66                  $0.00




{} Asset reference(s)                                                                                                                     Printed: 05/13/2020 10:48 AM        V.15.00
